Case 8:21-cv-01027-JVS-ADS Document 1 Filed 06/10/21 Page 1 of 15 Page ID #:1



 1   BENJAMIN J. FOX (CA SBN 193374)             THOMAS C. FROST
     ANI OGANESIAN (CA SBN 329296)               (CA SBN 185187)
 2   MORRISON & FOERSTER LLP                     THE FROST FIRM
     707 Wilshire Boulevard, Suite 6000          401 West A Street, Suite 1150
 3   Los Angeles, CA 90017-3543                  San Diego, CA 92101
     Telephone: (213) 892-5200                   Telephone: (619) 822-1741
 4   Facsimile: (213) 892-5454                   Facsimile: (619) 822-1744
     bfox@mofo.com;                              tfrost@thefrostfirm.com
 5   aoganesian@mofo.com
 6   JOYCE LIOU (CA SBN 277720)
     MORRISON & FOERSTER LLP
 7   425 Market Street
     San Francisco, CA 94105-2482
 8   Telephone: (415) 268-7000
     Facsimile: (415) 268-7522
 9   jliou@mofo.com
10   Attorneys for Plaintiff,
     AK FUTURES LLC
11
12                          UNITED STATES DISTRICT COURT
13                        CENTRAL DISTRICT OF CALIFORNIA
14
15   AK FUTURES LLC,                              No. 8:21-v-1027
16                       Plaintiff,               COMPLAINT FOR
17         v.                                     (1) COPYRIGHT
                                                  INFRINGEMENT, 17 U.S.C. §
18   BOYD STREET DISTRO, LLC, a                   101 ET SEQ.;
     California limited liability company; and
19   DOES 1-10,                                   (2) FEDERAL UNFAIR
                                                  COMPETITION AND FALSE
20                       Defendants.              DESIGNATION OF ORIGIN,
                                                  15 U.S.C. § 1125(a);
21
                                                  (3) CALIFORNIA FALSE
22                                                ADVERTISING,
                                                  CAL. BUS. & PROF. CODE
23                                                § 17500; AND
24                                                (4) CALIFORNIA UNFAIR
                                                  COMPETITION,
25                                                CAL. BUS. & PROF. CODE
                                                  § 17200 ET. SEQ.
26
                                                  DEMAND FOR JURY TRIAL
27
28
Case 8:21-cv-01027-JVS-ADS Document 1 Filed 06/10/21 Page 2 of 15 Page ID #:2



 1                            PRELIMINARY STATEMENT
 2         1.     This is an action against Defendants for counterfeiting and the willful
 3   infringement of plaintiff AK Futures LLC’s (“AKF”) intellectual property rights in
 4   its popular Cake™ brand of hemp derivative Delta-8 products. Defendants are
 5   unlawfully manufacturing, importing, advertising, marketing, selling, and
 6   distributing unauthorized, inauthentic, and infringing products that attempt to
 7   replicate or appear identical to AKF’s authentic products. Defendants’ products are
 8   of unknown quality and threaten substantial, irreparable harm to AKF’s brand as
 9   well as to consumers, who purchase Defendants’ products wrongfully believing
10   them to have been made, tested, and approved by AKF.
11         2.     AKF is the owner and authorized seller of Cake™ branded Delta-8
12   products, including disposable electronic delivery systems and electronic cigarette
13   liquid (“e-liquid”). Delta-8 is a hemp-derived product with less than 0.3% of the
14   psychoactive delta-9-tetrahydrocannabinol compound and is permitted to be sold in
15   interstate commerce under the 2018 Farm Bill. Delta-8 vaping products are
16   regulated under the PACT Act and other rules and regulations. AKF’s Cake™
17   brand is the top-selling brand of Delta-8 vaping goods in the United States.
18         3.     Given the popularity and consumer recognition of AKF’s Cake™
19   brand of products, significant demand for them exists in the U.S. market.
20   Unfortunately, counterfeiters and unauthorized sellers of inauthentic goods
21   replicating AKF’s Cake™ marks, its copyrighted Cake design, and AKF’s products
22   and packaging, are unlawfully trading on AKF’s brand and the goodwill AKF has
23   developed in its designs and products.
24         4.     Defendants are part of a network of counterfeiters and unauthorized
25   sellers of inauthentic Cake™ products. AKF’s investigation has shown that the
26   products being manufactured, sold, or otherwise distributed by Defendants are of
27   unknown or inferior quality to AKF’s authentic product, and threaten immeasurable
28
                                              2
Case 8:21-cv-01027-JVS-ADS Document 1 Filed 06/10/21 Page 3 of 15 Page ID #:3



 1   harm to AKF’s brand and customer good will. Accordingly, AKF brings this action
 2   to protect its brand and consumers from counterfeit Cake™ products.
 3                                          PARTIES
 4         5.     Plaintiff AKF is a limited liability company organized and existing
 5   under the laws of Delaware with its principal place of business in California located
 6   at 1007 West Grove Avenue, Suite B, Orange, California 92865. AKF is the owner
 7   and rights-holder to its Cake™ marks and related intellectual property.
 8         6.     Defendant Boyd Street Distro LLC (“Boyd St. Distro”) is a limited
 9   liability company formed under the laws of California. Boyd St. Distro promotes
10   itself as a wholesaler and distributor of smoke products. Boyd St. Distro’s principal
11   place of business in the United States is 310 Boyd Street, Los Angeles, California.
12         7.     Defendants Does 1-10 are unknown manufacturers, importers,
13   suppliers to, or agents of the named defendant, or are additional distributors, re-
14   sellers or retailers and are residents of, or will be present in, the State of California
15   and this judicial district or have transacted business in the State of California during
16   the time period covered by this complaint, and are subject to the jurisdiction of this
17   Court. The identities and roles played by Does 1-10 are not currently known. AKF
18   will amend its complaint to include the name or names of said persons or entities
19   when that information becomes readily available.
20         8.     On information and belief, each of the Defendants was the agent of
21   each of the others, and committed the acts or omissions alleged herein on behalf of
22   each of the other Defendants. Defendants authorized, approved, ratified or directed
23   the acts or omissions of each of the other Defendants that are alleged herein.
24                              JURISDICTION AND VENUE
25         9.     This is an action for copyright infringement of AKF’s copyrighted
26   design logo, 17 U.S.C. § 101 et seq., for federal unfair competition, 15 U.S.C.
27   § 1125(a), and for violations of California’s false advertising law, Cal. Bus. & Prof.
28   Code § 17500 et seq., and California’s unfair competition law, Cal. Bus. & Prof.
                                              3
Case 8:21-cv-01027-JVS-ADS Document 1 Filed 06/10/21 Page 4 of 15 Page ID #:4



 1   Code § 17500 et seq. This Court has jurisdiction over AKF’s federal claims
 2   pursuant to 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331 and 1338(a). Jurisdiction for
 3   the related state-law claims is based upon 28 U.S.C. §§ 1338(b) and 1367.
 4         10.    Venue is proper in this judicial district pursuant to 28 U.S.C. §§ 1391
 5   and 1400(a). Defendants are subject to suit in this District by virtue of their
 6   commercial activities and sales in this District. Venue in this District also is proper
 7   because a substantial part of the events giving rise to the claims in this action
 8   occurred in this District. AKF has its principal place of business in this District.
 9                                STATEMENT OF FACTS
10         A.     THE COMMERCIAL SUCCESS OF PLAINTIFF’S CAKE™ PRODUCTS
11         11.    AKF’s Cake™ brand is recognized as the market leader in high-quality
12   hemp-derived Delta-8 vaping products.
13         12.    Prior to launching Cake™, AKF’s co-founder James Clelland
14   launched and operated other very successful brands in the vaping industry. An
15   artist, designer, and experienced marketer, Clelland’s interest in vaping products
16   began with a desire to quit smoking cigarettes. Clelland began work in the industry
17   in his mid-20s, where he gained valuable experience into the e-cigarette market. By
18   the age of 28, Clelland developed his first successful e-cigarette brand called
19   “Dotmod.” Dotmod’s sales grew to approximately $20 million annually utilizing
20   Clelland’s designs and logos and grassroots or “viral” social media marketing. His
21   passion and hard work in developing successful brands and building connections in
22   this highly competitive industry has contributed to the success and popularity of
23   AKF’s brands.
24         13.    Prior to launching Cake ™, AKF’s co-founders Devon Davis
25   (“Devon”) and Jeffrey Meng (“Jay”) launched and operated a pharmaceutical
26   packaging company which serviced the lucrative cannabis market in California at
27   the inception of its legalization. After several years of hard work and diligence,
28   their company launched its initial public offering (“IPO”). As a start-up venture,
                                             4
Case 8:21-cv-01027-JVS-ADS Document 1 Filed 06/10/21 Page 5 of 15 Page ID #:5



 1   Devon and Jay received most of their compensation in tranches of common stock of
 2   the corporation operating their packaging venture, and the company’s IPO made
 3   them wealthy with lucrative business networks.
 4         14.    AKF launched the Cake™ brand at the CHAMPS Trade Show in
 5   Orlando, Florida in October 2020. While there were other Delta-8 products at the
 6   trade show, Cake™ stood out through its appealing branding and high-quality
 7   disposable product. Demand for Cake™ products has been overwhelming. For the
 8   nine-month period ending May 2021, revenue from sales of authentic Cake™
 9   products in the U.S. market exceeded $44,000,000.
10         15.    By virtue of Cake™’s marketplace success, AKF has established
11   substantial consumer goodwill in the Cake™ mark, trade name, and designs.
12   Consumers of Cake™ products associate AKF’s marks and designs with high-
13   quality, innovative products.
14         16.    AKF takes seriously its intellectual property rights in the Cake™ brand
15   and actively polices them, including through anti-counterfeiting activities of the
16   type that uncovered the sales of counterfeit products described in this complaint.
17         B.     PLAINTIFF’S TRADEMARK RIGHTS IN CAKE™
18         17.    AKF has filed for registration of the Cake™ marks before the United
19   States Patent and Trademark Office, for use in connection with electronic
20   cigarettes, electronic cigarette refill liquids and cartridges, electronic cigarette
21   batteries, and electronic cigarette chargers, including as follows:
22
23
24
25
26
27
28
                                              5
Case 8:21-cv-01027-JVS-ADS Document 1 Filed 06/10/21 Page 6 of 15 Page ID #:6



 1
     MARK                DATE OF APPLICATION              U.S. SERIAL NUMBER
 2
 3   CAKE                December 21, 2020                90399839 (Class 034)

 4   CAKED               March 17, 2021                   90584363 (Class 034)

 5   CAKED8              March 17, 2021                   90584410 (Class 034)
 6                       March 22, 2021                   90594523 (Class 034)
 7                       May 2, 2021                      90686598 (Class 009)

 8                       March 22, 2021                   90594382 (Class 034)
 9                       April 5, 2021                    90624745 (Class 009)

10   EAT CAKE            March 25, 2021                   90603633 (Classes 009 and
                                                          034)
11
12
           18.   Attached hereto as Exhibits A through F are true and correct copies of
13
     the print-outs of the Trademark Status & Document Retrieval pages for the above
14
     serial numbers.
15
           19.   AKF has also applied for international registration of these marks,
16
     including in Canada, China, Japan, Korea, the United Kingdom, and the European
17
     Union.
18
           20.   For the past eight months, and since as early as October 23, 2020,
19
     AKF has continuously used one or more of the marks on its products in commerce.
20
     To this day, all of AKF’s Cake™ products bear one or more of the marks.
21
           21.   The marks are distinctive and serve solely to identify and promote
22
     AKF’s genuine products and well-known brand.
23
           22.   AKF has spent substantial time, money, and effort in developing
24
     consumer recognition and awareness of its brand.
25
           23.   AKF sells its products through its authorized network.
26
           24.   Through its, its predecessors’, and its licensees’ widespread and
27
     substantially exclusive use of the Cake™ mark and related marks, AKF also owns
28
                                          6
Case 8:21-cv-01027-JVS-ADS Document 1 Filed 06/10/21 Page 7 of 15 Page ID #:7



 1   significant common law rights in the marks, which are not limited to the goods or
 2   services for which the marks are pending registration.
 3          C.    DEFENDANTS’ COUNTERFEITING AND UNLAWFUL DISTRIBUTION
 4         25.    Defendants advertise and offer for sale purported Cake™ products,
 5 which AKF suspected to be inauthentic products. AKF has investigated the
 6 suspected counterfeiting of its products, and has engaged a private investigator to
 7 purchase and inspect samples of such products.
 8         26.    On May 6, 2021, AKF’s investigator purchased the following products
 9 from Defendant Boyd St. Distro in downtown Los Angeles:
10
     PRODUCT DESCRIPTION                   PURCHASE LOCATION
11
     1 box (containing 5 disposable        Boyd St. Distro
12   devices) Cake™ Lemon Kush             310 E. Boyd Street, Los Angeles, CA
     flavor Delta 8
13
     1 box (containing 5 disposable        Boyd St. Distro
14   devices) Cake™ Banana Runtz
     flavor Delta 8                        310 E. Boyd Street, Los Angeles, CA
15
           27.    AKF and its investigator examined the products, which are
16
     counterfeits not made by or with the permission of AKF. The inauthentic products
17
     sold by Defendant Boyd St. Distro include replicas of AKF’s Cake™ branded
18
     packaging and reproductions of AKF’s copyrighted stylized drawing and AKF’s
19
     Cake™ mark. The similarities between AKF’s authentic product and the counterfeit
20
     products sold by Defendant Boyd St. Distro are striking:
21
            //
22
            //
23
            //
24
            //
25
            //
26
            //
27
            //
28
                                           7
Case 8:21-cv-01027-JVS-ADS Document 1 Filed 06/10/21 Page 8 of 15 Page ID #:8



 1
 2
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14         (Authentic Cake™ packaging)               (Packaging sold by Defendants)
15         28.     AKF’s inspection and analysis revealed that the products sold by
16 Defendants differ from authentic Cake™ products in at least the following ways:
17                      a.      The counterfeit products’ packaging is laminated with a
18               thin layer. AKF does not laminate its Cake™ products’ packaging;
19                      b.      The counterfeit products’ packaging is made from
20               thermos-mechanical pulping (“TMP”) paper, which has a yellow-tinted
21               middle layer. AKF does not use TMP paper;
22                      c.      The counterfeit products have copies of a “Certificate of
23               Analysis” sticker on the back of their packaging, which is copied from a
24               prior version of such a certificate used by AKF, as shown below:
25         //
26         //
27         //
28
                                            8
Case 8:21-cv-01027-JVS-ADS Document 1 Filed 06/10/21 Page 9 of 15 Page ID #:9



 1
 2
 3
 4
 5
 6
 7
 8   (Authentic Cake™ product)         (Counterfeit Sticker on Defendants’ product)
 9                d.     The corners of the “Certificate of Analysis” sticker on the back
10                       of the counterfeit products’ packaging differ from authentic
11                       Cake™ products;
12                e.     The color of the counterfeit products’ “Certificate of Analysis”
13                       sticker differs from authentic Cake™ products;
14                f.     The Cake™ logo on the front of the counterfeit products’
15                       packaging is distinguishable to AKF’s trained employees from
16                       authentic Cake™ products; and
17                g.     Some counterfeit products with red sleeves contain white
18                       inserts. This differs from authentic Cake™ products.
19         D.     CONSUMER CONFUSION AND HARM CAUSED BY COUNTERFEITS
20         29.    Defendants are manufacturing, importing, advertising, marketing,
21   offering to sell, and have sold or distributed vaping products that bear confusingly
22   similar imitations of the Cake™ Marks. Through these activities, Defendants are
23   intentionally deceiving customers into believing that they are receiving authentic
24   Cake™ products developed, manufactured, and screened by AKF or another party
25   affiliated with, or authorized, licensed, or approved by AKF.
26         30.    In addition to being inauthentic, the quality, performance, and safety of
27   Defendants’ products are unknown. AKF regularly tests its products for potency.
28   It also periodically conducts full-panel testing for pesticides and other
                                             9
Case 8:21-cv-01027-JVS-ADS Document 1 Filed 06/10/21 Page 10 of 15 Page ID #:10



  1   contaminates. AKF is unable to screen or test Defendants’ products before they
  2   reach consumers. The inauthentic products are not subject to AKF’s quality control
  3   standards. They may be made or assembled using unknown or unsafe products or
  4   components, causing harm to consumers and those around them.
  5          31.    Consumers are harmed by Defendants’ unlawful conduct because they
  6   receive inauthentic products, which are at risk of being of lower quality, less
  7   reliable, and less safe than the high-quality, genuine Cake™ products they expect.
  8          32.    Consumers and the public are likely to associate any negative or
  9   unsafe qualities of these inauthentic products with AKF and the Cake™ Marks.
 10   These negative associations cause irreparable harm to AKF and damage the
 11   reputation of the Cake™ brand, in which AKF has invested heavily.
 12          33.    Defendants’ distribution and sales of infringing product also deprive
 13   AKF of revenue and profits from sales of its authentic Cake™ products.
 14          34.    AKF has not authorized Defendants to manufacture, advertise,
 15   distribute, or sell any Cake™ products or any products bearing the Cake™ Marks.
 16   AKF also has not granted Defendants a license to use the Cake™ Marks.
 17                                FIRST CLAIM FOR RELIEF
 18      (Copyright Infringement, 17 U.S.C. § 101 et seq., Against All Defendants)
 19          35.    AKF incorporates the allegations in paragraphs 1 through 34 above as
 20   if set forth fully herein.
 21          36.    AKF’s cake design logo bearing U.S. Copyright Registration No. VA
 22   2-247-632, attached hereto as Exhibit G, is an original work of authorship protected
 23   by the Copyright Act. AKF is the registrant and rights holder to the copyright in
 24   this work with authority to sue to enforce its copyright in the work.
 25          37.    Without the consent, approval or license of AKF, Defendants have
 26   manufactured, distributed, offered for sale and sold infringing reproductions of
 27   AKF’s Cake™ products, including unauthorized reproductions of AKF’s
 28
                                             10
Case 8:21-cv-01027-JVS-ADS Document 1 Filed 06/10/21 Page 11 of 15 Page ID #:11



  1   copyrighted cake design logo. These activities have infringed and are continuing to
  2   infringe valid, federally registered copyright in AKF’s work.
  3          38.    The activities of Defendants described above have caused and continue
  4   to cause substantial injury to AKF, including irreparable harm for which there is no
  5   adequate remedy.
  6          39.    Defendants’ infringing activities were willful and performed in
  7   conscious disregard of AKF’s rights.
  8                                SECOND CLAIM FOR RELIEF
  9       (Federal Unfair Competition and False Designation of Origin, 15 U.S.C.
                            1125(a), Against All Defendants)
 10
             40.    AKF incorporates the allegations in paragraphs 1 through 39 above, as
 11
      if set forth fully herein.
 12
             41.    Defendants’ advertising, offering for sale and sale of counterfeit or
 13
      unauthorized Cake™ products bearing the Cake™ Marks constitute false
 14
      designations of origin and false descriptions and representations, and is likely to
 15
      cause confusion, mistake, and to deceive consumers by creating the false
 16
      impression that AKF and the Cake™ products are affiliated, connected or
 17
      associated with Defendants or their goods, or that Defendants’ products are
 18
      approved, licensed, endorsed or sponsored by AKF.
 19
             42.    Defendants’ acts constitute the use of a false designation of origin, a
 20
      false description and a false representation that Defendants’ goods are AKF’s, are
 21
      identical to or interchangeable with AKF’s goods, or are in some way approved,
 22
      sponsored, authorized by or affiliated with AKF.
 23
             43.    With full knowledge of such falsity, Defendants have sold and
 24
      continue to sell such merchandise in interstate commerce in such manner as to
 25
      cause confusion or mistake among the public and to deceive the public, resulting in
 26
      Defendants’ profit and causing AKF great damage and injury. Defendants’ above-
 27
 28
                                             11
Case 8:21-cv-01027-JVS-ADS Document 1 Filed 06/10/21 Page 12 of 15 Page ID #:12



  1   mentioned acts constitute deliberate and intentional violations of Section 43 of the
  2   Lanham Act, and justify an award of trebled damages.
  3          44.    Defendants’ above-described conduct is causing irreparable harm to
  4   AKF and the Cake™ brand, for which there is no adequate remedy at law.
  5                                THIRD CLAIM FOR RELIEF
  6      (California False Advertising, Cal. Bus. & Prof. Code § 17500, Against All
  7                                         Defendants)
  8          45.    AKF incorporates the allegations in paragraphs 1 through 44 above as
  9   if set forth fully herein.
 10          46.    Defendants have knowingly and willfully made false or misleading
 11   statements in connection with the sale of their inauthentic products.
 12          47.    In advertising and promoting their products, Defendants knew or, with
 13   the exercise of reasonable care, should have known, that their statements were false
 14   and misleading.
 15          48.    As a direct, proximate, and foreseeable result of Defendants making
 16   these false and misleading statements, AKF has suffered, and will continue to
 17   suffer, irreparable harm to its individual brand, reputation, and goodwill. AKF has
 18   no adequate remedy at law to compensate for these substantial injuries and is thus
 19   entitled to injunctive relief.
 20          49.    As a direct, proximate, and foreseeable result of Defendants making
 21   these false and misleading statements, AKF has suffered and will continue to suffer,
 22   money damages in an amount to be proven at trial.
 23                                FOURTH CLAIM FOR RELIEF
 24       (California Unfair Competition, Cal. Bus. & Prof. Code § 17200 et. seq,
 25                                    Against All Defendants)
 26          50.    AKF incorporates the allegations in paragraphs 1 through 49 above, as
 27   if set forth fully herein.
 28
                                              12
Case 8:21-cv-01027-JVS-ADS Document 1 Filed 06/10/21 Page 13 of 15 Page ID #:13



  1         51.    As stated above, Defendants’ conduct is likely to cause confusion as to
  2   the origin, authorization, authenticity and sponsorship of the vaping products being
  3   manufactured, imported, advertised, sold, and distributed by Defendants. The
  4   above-described conduct of Defendants is intended to produce and has produced
  5   substantial profits for Defendants at the expense of AKF and to the detriment of the
  6   integrity of the Cake™ brand.
  7         52.    Defendants’ above-described conduct constitutes unlawful, unfair and
  8   fraudulent business practices in violation of California Business & Professions
  9   Code sections 17200 et seq.
 10         53.    AKF has lost money and suffered substantial injury as a result of
 11   Defendants’ wrongful acts. Defendants’ misconduct also has caused, and is
 12   continuing to cause, irreparable injury to AKF for which there is no adequate
 13   remedy at law.
 14                                 PRAYER FOR RELIEF
 15         WHEREFORE, Plaintiff requests that the Court enter judgment and other
 16   relief in its favor and against Defendants as follows:
 17         A.     That Defendants, their officers, directors, agents, employees,
 18   representatives and all persons, firms and corporations in active concert or
 19   participation with any of them, be preliminarily and permanently enjoined from
 20   counterfeiting, infringing, distributing or otherwise using without AKF’s
 21   authorization the Cake™ marks and any AKF’s copyrighted designs, by
 22   manufacturing or causing to be manufactured, importing or causing to be imported,
 23   reproducing or causing to be reproduced, purchasing or causing to be purchased,
 24   distributing or causing to be distributed, advertising or causing to be advertised, or
 25   offering for sale or selling, any counterfeit or infringing products bearing the
 26   Cake™ marks, or any confusingly similar mark;
 27         B.     Judgment in favor of AKF that Defendants infringed AKF’s copyright
 28   rights under 17 U.S.C. § 101 et seq.;
                                              13
Case 8:21-cv-01027-JVS-ADS Document 1 Filed 06/10/21 Page 14 of 15 Page ID #:14



  1          C.     Judgment in favor of AKF that Defendants compete unfairly with
  2   AKF, in violation of AKF’s rights under 15 U.S.C. § 1125(a) and California Bus. &
  3   Prof. Code § 17200;
  4          D.     Judgment in favor of AKF that Defendants made false and misleading
  5   statements about falsely and misleadingly advertised their counterfeit products, in
  6   violation of AKF’s rights under California Bus. & Prof. Code § 17500;
  7          E.     On the First Claim for Relief, AKF be awarded statutory damages for
  8   infringement of its registered copyright of up to $150,000 for willful infringement
  9   pursuant to 17 U.S.C. § 504(c) or, at AKF’s election, an award of its actual
 10   damages incurred, including all profits of the Defendants obtained in connection
 11   with their infringing activities, or in the alternative;
 12          F.     On the Second Claim for Relief, Defendants be ordered, pursuant to
 13   Section 34 of the Lanham Act, 15 U.S.C. § 1116(a), to file with the Court and serve
 14   upon AKF’s counsel, within 30 days of the entry of the injunctions and orders
 15   prayed for herein, a written report setting forth under oath and in detail the manner
 16   in which they have complied with the injunctions and orders requested herein;
 17          G.     On the Second Claim for Relief, AKF be awarded up to three times the
 18   amount of actual damages sustained by it as a result of Defendants’ acts, including
 19   any lost profits sustained by AKF or profits unlawfully realized by Defendants;
 20          H.     On all claims for relief, Defendants be required to deliver immediately
 21   to AKF for destruction all counterfeit or infringing merchandise bearing the Cake™
 22   marks, or any confusingly similar mark;
 23          I.     On all claims for relief, Defendants further be required to deliver to
 24   AKF for destruction all computer files, digital files, computer discs, master copies,
 25   print molds, dye cuts or other materials or instrumentalities used to manufacture
 26   counterfeit or infringing merchandise bearing the Cake™, as well as all labels,
 27   signs, prints, packages, receptacles, promotional and other material in their
 28
                                               14
Case 8:21-cv-01027-JVS-ADS Document 1 Filed 06/10/21 Page 15 of 15 Page ID #:15



  1   possession, custody or control that display or promote counterfeit or infringing
  2   merchandise bearing the Cake™ marks, or any confusingly similar mark;
  3          J.       On all claims for relief, Defendants be ordered to provide an
  4   accounting of all revenues and profits obtained by them as a result of their
  5   counterfeiting, copyright infringement, unfair competition and other violations, as
  6   alleged herein;
  7          K.       On the First and Second Claims for Relief, AKF be awarded its
  8   attorneys’ fees and costs pursuant to 15 U.S.C. § 1117 and 17 U.S.C. § 505;
  9          L.       On the Third and Fourth Claims for Relief, the Court grant restitution
 10   to AKF, including the disgorgement of all monies obtained by Defendants through
 11   the unlawful sales or distribution of counterfeit, unauthorized or infringing goods;
 12   and
 13          M.       Such other and further relief the Court deems just and proper.
 14                                DEMAND FOR JURY TRIAL
 15          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, AKF
 16   demands trial by jury on all issues raised by the Complaint.
 17
      Dated:       June 10, 2021                MORRISON & FOERSTER LLP
 18
 19
                                                By:   /s/ Benjamin J. Fox
 20                                                   Benjamin J. Fox
 21                                                   Attorneys for Plaintiff
                                                      AK FUTURES LLC
 22
 23   sf-4496387

 24
 25
 26
 27
 28
                                               15
